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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )                    8:12CR332
      vs.                                )
                                         )                      ORDER
JUANA BANDA,                             )
                                         )
                    Defendant.           )



       This matter is before the court on defendant's MOTION TO ENLARGE TIME TO FILE
PRETRIAL MOTIONS [37]. The record shows that this deadline expired on November 29,
2012. The court finds that the defendant has not shown good cause for extending the
deadline.

      IT IS ORDERED:

      Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [37] is
denied.

     Pursuant to NECrimR 57.2(a), a party may appeal this order by filing a “Statement of
Appeal of Magistrate Judge’s Order” no later an12:00 noon on Friday, January 18, 2013.

      DATED this 11th day of January, 2013.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
